780 F.2d 1020
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.(The decision of the Court is referenced in a "Table of Decisions Without Reported Opinions" appearing in the Federal Reporter.)MARKHAM KING ELLIS, Plaintiff-Appellant,v.CULVER EDUCATIONAL FOUNDATION, ET AL., Defendants-Appellees.
    85-1800
    United States Court of Appeals, Sixth Circuit.
    11/18/85
    
      DENIED
      W.D.Mich.
      ORDER
      BEFORE:  MERRITT, MARTIN and WELLFORD, Circuit Judges.
    
    
      1
      This matter is before the Court upon consideration of appellant's response to this Court's October 23, 1985 order to show cause why the appeal should not be dismissed because of a late filed notice of appeal.  Appellant has also moved for leave to proceed in forma pauperis and appointment of counsel.
    
    
      2
      It appears from the record that final judgment was entered on April 23, 1984 and that the notice of appeal filed on September 17, 1985, sixteen months late.  Rules 4(a) and 26(a), Federal Rules of Appellate Procedure.
    
    
      3
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Rule 4(a) is a mandatory and jurisdictional prerequisite which this Court can neither waive nor extend.  Peake v. First Nat. Bank and Trust Co. of Marquette, 717 F.2d 1016 (6th Cir. 1983).  Rule 26(b) specifically provides that this Court cannot enlarge the time for filing a notice of appeal.
    
    
      4
      It is ORDERED that the motions for leave to proceed in forma pauperis and for appointment of counsel be and are hereby denied.
    
    
      5
      It is ORDERED that the appeal be and hereby is dismissed for lack of jurisdiction.  Rule 9(d)(1), Rules of the Sixth Circuit.
    
    